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 8

 9                             UNITED STATES DISTRICT COURT
10                                       DISTRICT OF NEVADA
11   Gary Tai, ShuiKee Company Limited, and Golden
     Essence Global Limited,                              Case No.:
12
                           Plaintiffs,                                Verified Complaint
13
            v.
14
     JC Funding-5, LLC, Jeff N. Crossland, D-Design
15   LNO Inc., Leslie Dotson, Does I-X, and Roes
     Corporation I-X,
16
                           Defendants.
17

18          Plaintiffs Gary Tai (“Tai”), ShuiKee Company Limited (“ShuiKee”), and Golden
19   Essence Global Limited (“Golden Essence”) (collectively, the “Plaintiffs”), by and through
20   counsel of record, the law firm Holley Driggs Walch Fine Wray Puzey & Thompson, hereby
21   complains against Defendants JC Funding-5, LLC (“JC Funding”), Jeff N. Crossland
22   (“Crossland”), D-Design LNO Inc. (“D-Design”), and Leslie C. Dotson (“Dotson”)
23   (collectively, the “Defendants”) as follows:
24                                             PARTIES
25          1.      Tai is a foreign citizen from Hong Kong SAR.
26          2.      ShuiKee is a corporation organized under the laws of Hong Kong SAR.
27          3.      Golden Essence is a corporation organized under the laws of Hong Kong SAR.
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 1          4.      Upon information and belief, JC Funding is a Missouri limited liability
 2   company conducting business in Clark County, Nevada.
 3          5.      Upon information and belief, Crossland is, and at relevant times was, a member
 4   and manager of JC Funding and a California citizen conducting business in Clark County,
 5   Nevada.
 6          6.      Upon information and belief, D-Design is a Nevada corporation conducting
 7   business in Clark County, Nevada.
 8          7.      Upon information and belief, Dotson is, and at all relevant times was, the
 9   President, Secretary, Treasurer, and sole Director of a D-Design and a California citizen
10   conducting business in Clark County, Nevada.
11          8.      The true names and capacities, whether individual, corporate, associate, or
12   otherwise of Defendants herein designated as Does I through X and Roe Corporations I through
13   X, inclusive, are not known at this time and are therefore named as fictitious defendants. This
14   Complaint will be amended to allege the true names and capacities of Does I through X and
15   Roe Corporations I through X when their true names and capacities are ascertained.
16                                  JURISDICTION AND VENUE
17          9.      This Court has jurisdiction under 28 U.S.C. §1332(a)(1), because Plaintiffs and
18   all Defendants are citizens of different states and the amount in controversy herein exceeds
19   $75,000.00.
20          10.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391, as the Defendants
21   regularly conduct business in this judicial district, and D-Design is a citizen of this judicial
22   district, and the conduct alleged in this Complaint took place in this judicial district.
23          11.     Exercise of personal jurisdiction over Defendants is reasonable as Defendants
24   have had substantial, continuous and systematic contacts with the State of Nevada, and/or
25   Defendants have purposefully directed their activities to residents of the State of Nevada,
26   which activities have given rise to the claims alleged by Plaintiffs herein, which Defendants
27   knew or should have known would cause harm to Plaintiffs as alleged herein.
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 1                                    GENERAL ALLEGATIONS
 2          12.     Plaintiff repeats and realleges the allegations of the previous paragraphs as
 3   though fully set forth herein.
 4          13.     In or about September 2013, Dotson approached Tai regarding an investment
 5   opportunity through which a new entity, D-Design, would be formed for the purpose of (1)
 6   acquiring a controlling interest in GoLink (China) Limited (“GoLink”), a Hong Kong
 7   corporation that is owned by Tai, and (2) to acquire the existing business of Fabrique Ltd.
 8   (“Fabrique”), a Connecticut corporation (the “Transaction”). These companies engaged in,
 9   among other things, marketing and selling cases, sleeves, bags, backpacks, messenger bags,
10   luggage, laptop cases, suitcases, brief cases and other similar goods.
11          14.     To facilitate the Transaction, Dotson and Crossland represented to Tai in or
12   around October 2013 that Dotson would create D-Design to acquire GoLink and Fabrique with
13   Crossland, through his company JC Funding, to be the lender for this Transaction. Dotson was
14   the orchestrator of the Transaction and was to be the President of D-Design.
15          15.     In order to effectuate the Transaction proposed by Dotson and Crossland,
16   Dotson and Crossland asked Tai to contribute $1.9 million to facilitate the loan funding.
17   THE STOCK PURCHASE AGREEMENT
18          16.     On April 30, 2014, GoLink, D-Design, Golden Essence Global and Tai entered
19   into a Stock Purchase Agreement.
20          17.     The Stock Purchase Agreement was later amended pursuant to that certain First
21   Amendment to Stock Purchase Agreement dated July 8, 2014, and pursuant to that certain
22   Second Amendment to Stock Purchase Agreement dated October 14, 2014 (collectively
23   referred to as the “Stock Purchase Agreement”). A true and correct copy of the Stock Purchase
24   Agreement is attached as Exhibit “1”. Pursuant to the Stock Purchase Agreement, D-Design
25   agreed to purchase the shares of GoLink stock from Golden Essence for $2 million (the
26   “Purchase Price”).
27
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 1          18.     The Stock Purchase Agreement required D-Design to pay the Purchase Price in
 2   phases, with the first payment of $1,850,000 to be paid within 120 days after the closing date
 3   of financing (the “First Installment”). The remaining $150,000 was to be paid on the first
 4   anniversary of the date of the Stock Purchase Agreement (the “Second Installment”).
 5          19.     Section 28 of the Stock Purchase Agreement describes the events of termination
 6   of the Stock Purchase Agreement and terms relating to ShuiKee’s Deposit. Under this section,
 7   D-Design shall pay ShuiKee interest on the Deposit with Bank of America at 6% per annum,
 8   for each day the Deposit with Bank of America is not returned to ShuiKee, with interest
 9   beginning to accrue on June 1, 2014. The first interest payment was due August 1, 2014, and
10   interest is payable monthly thereafter. See Section 28 of the Stock Purchase Agreement, Ex. 1.
11          20.     Under Section 28 of the Stock Purchase Agreement, if $1 million is not paid to
12   ShuiKee within 60 days from the Closing Date (as defined in the Project Funding Loan
13   Agreement), D-Design was required to immediately reimburse ShuiKee $17,000 for fees paid
14   to a third-party to generate the financing documents and an additional $4,000 for costs incurred
15   in connection with the opening of the escrow account with Bank of America.
16          21.     Section 30 discusses conversion and the consequences of D-Design’s failure to
17   pay the Purchase Price to Golden Essence. If Golden Essence or Tai does not receive the First
18   Installment within 120 days of the Closing Date, the Stock Purchase Agreement is
19   automatically terminated and D-Design is responsible for paying a termination fee of $400,000
20   to Golden Essence and reimburse Golden Essence for all legal, accounting and banking fees
21   incurred in connection with the transaction.
22          22.     The Stock Purchase Agreement became effective on May 2, 2014, which was
23   the date ShuiKee deposited $1.9 million (the “Deposit”) in an escrow account at Bank of
24   America.
25          23.     D-Design subsequently returned to ShuiKee the amount of $873,000 on
26   September 15, 2014 and the amount of $200,000 on May 28, 2015.
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 1          24.     Further D-Design never purchased GoLink stock from Golden Essence or the
 2   business of Fabrique.
 3   THE PROJECT FUNDING LOAN AGREEMENT
 4          25.     D-Design and JC Funding entered into a Project Funding Loan Agreement (the
 5   “Project Funding Loan Agreement”), dated October 14, 2014. The parties to the Project
 6   Funding Loan Agreement were JC Funding and D-Design. A true and correct copy of the
 7   Project Funding Loan Agreement is attached as Exhibit “2”.
 8          26.     The purpose of the Project Funding Loan Agreement was for D-Design to
 9   borrow from JC Funding a total of $11,050,000 loan (the “Loan”) to finance (i) the acquisition
10   of the existing business of Fabrique; (ii) the acquisition of a controlling interest of GoLink;
11   (iii) to refinance existing debt; and (iv) pay all costs, expenses and other amounts described in
12   Exhibit “A” to the Project Funding Loan Agreement.
13          27.     Exhibit “A” to the Project Funding Loan Agreement provides that the Project
14   Funding Loan proceeds would be used as follows: (i) purchase the Net Assets of Fabrique for
15   $5,500,000; (ii) pay off the outstanding Citizens Bank debt of Fabrique in the amount of
16   $1,000,000; (iii) repatriate capital associated with Asian Activities at a cost of $1,000,000; (iv)
17   purchase the Net Assets of GoLink for $1,850,000; (v) invest in new South American Facility
18   for $500,000; (vi) establish an Interest Reserve for the Loan of $685,000; (vi) pay JC Funding
19   fees of $215,000; (vii) pay Advisory fees of $270,000; and (viii) pay Loan servicing fees of
20   $30,000.
21          28.     In order to facilitate the Loan, ShuiKee agreed to deposit $1 million into a
22   designated escrow account (the “Deposit” pursuant to the terms and conditions of the
23   Custodian Agreement. See Project Funding Loan Agreement, Ex. 2, Recital “B”. The
24   Custodian Agreement describes the terms under which the Deposit shall be released. See
25   Project Funding Loan Agreement, Ex. 2, Recital “C”. Upon satisfaction of the terms set forth
26   in the Custodian Agreement, JC Funding’s obligations under Project Funding Loan Agreement
27   became of full force and effect. See Project Funding Loan Agreement, Ex. 2, Recital “D”.
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 1          29.     Section 9 of the Project Funding Loan Agreement, entitled “TERMINATION
 2   OF AGREEMENT AND REFUND OF DEPOSIT”, governs termination and refund of the
 3   Deposit to ShuiKee. Pursuant to Section 9 of the Project Funding Loan Agreement in the event
 4   ShuiKee has not received $1 million from JC Funding by Capital Release Date 1 as set forth
 5   in the Draw Down Schedule in Exhibit “C” of the Project Funding Loan Agreement within
 6   sixty (60) days from the Closing Date, ShuiKee may notify JC Funding of its failure to fund
 7   the Loan. Upon receipt of such notification, JC Funding shall have thirty (30) days to cure
 8   such default. If JC Funding does not timely cure the default, JC Funding will immediately
 9   cause to be released the Collateral Agreement if recorded, any liens or encumbrances, all Loan
10   Documents (as defined in the Project Funding Loan Agreement) will become immediately
11   invalid and unenforceable by JC Funding, and Custodian Jery E. Barton of the Barton Law
12   Group (the “Custodian”) shall take all actions on behalf of ShuiKee to make it whole in
13   accordance with the terms of the Custodian Agreement.
14   THE CUSTODIAN AGREEMENT
15          30.     In order to facilitate the $11,500,000 Loan, ShuiKee agreed to establish an
16   escrow account and to make the Deposit pursuant to the terms and conditions of the Custodian
17   Agreement. On December 22, 2014, ShuiKee, JC Funding, and the Custodian entered into
18   a Custodian Agreement (the “Custodian Agreement”). A true and correct copy of the
19   Custodian Agreement is attached as Exhibit “3”. Pursuant to the Custodian Agreement
20   ShuiKee deposited $1,000,000 with the Custodian in accordance with the Project Funding
21   Loan Agreement.
22          31.     The Custodian Agreement references the issuance of an Instrument in the
23   amount of $5 million to be issued by Standard Chartered Bank or a comparable rated
24   bank. This Instrument was to constitute part of the Loan. Pursuant to the terms of the
25   Custodian Agreement, the cost associated with the Instrument was to be paid from the Deposit.
26          32.     To that end, the Custodian Agreement provides that as a pre-condition to the
27   release of any portion of the Deposit to cover the cost of the Instrument, the cost of the
                                                 -6-
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 1   Instrument is to be placed with a Settlement Agent by the name of Commercial Settlement
 2   Services (“CSS”). CSS contractually agreed not to release the costs of the Instrument until
 3   such time as the Instrument has been delivered and confirmed by the recipient bank.
 4          33.    The Custodian was to evidence to ShuiKee its receipt of the Agreement with
 5   CSS by executing the Affidavit attached to the Custodian Agreement as Exhibit “B”. The
 6   Custodian likewise was to confirm to ShuiKee receipt of the Instrument by executing the
 7   Affidavit attached to the Custodian Agreement as Exhibit “C”.
 8          34.    In Paragraph 10, the Custodian Agreement also references the issuance of
 9   another Instrument referred to as an Irrevocable Conditional Bank Pay Order (“ICBPO”) in the
10   amount of $1 million.
11          35.    Upon information and belief, the ICBPO was to be paid to the Custodian and
12   the funds used to cover the cost of another Instrument if JC Funding agreed to order another
13   Instrument.
14          36.    Upon information and belief, the ICBPO funds could be used to reimburse
15   ShuiKee for the Deposit used to pay the cost of the Instrument if JC Funding elected not to
16   order another Instrument pursuant to the Custodian Agreement.
17          37.    The use of the ICBPO to repay the Deposit is conditioned upon the Custodian
18   receiving instructions from JC Funding. If JC Funding has not so instructed the Custodian by
19   the Capital Release Date 1 (as defined in the Project Funding Loan Agreement), the Custodian
20   has 72 hours to release and transmit the Deposit to ShuiKee, and shall notify JC Funding and
21   ShuiKee of Custodian’s actions.
22          38.    The parties subsequently agreed to eliminate the requirement for a Settlement
23   Agent, i.e., CSS and modified the amount to be released to JC Funding. Pursuant to these
24   modifications Plaintiffs are informed and believe that on or about March 27, 2015, the
25   Custodian executed Exhibit “C” to the Custodian Agreement confirming receipt of the
26   Instrument as described in the Custodian Agreement and released $800,000 from the escrow
27   account to JC Funding.
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 1          39.     JC Funding never funded the Loan yet retained and never returned the $800,000
 2   to ShuiKee.
 3   THE PROMISSORY NOTE1
 4          40.     On or about October 14, 2014, D-Design executed a Promissory Note in the
 5   amount of $11,050,000 in favor of JC Funding for repayment of the Loan.
 6   PLAINTIFFS’ DEMANDS FOR DEFENDANTS’ PERFORMANCE
 7          41.     On or about June 8, 2017 and July 5, 2017, Plaintiffs gave notice to Defendants
 8   regarding their breach of the Loan Documents and the parties’ agreement relating to the
 9   Transaction.
10          42.     Specifically, Plaintiffs stated that the Stock Purchase Agreement had been
11   automatically terminated and demanded D-Design’s payment of the termination fee of
12   $400,000 to Golden Essence and for reimbursement of all legal, accounting and banking fees
13   incurred in connection with the transaction.
14          43.     Plaintiffs further demanded (1) confirmation of the issuance of the Instrument
15   per Paragraph 5 of the Custodian Agreement, (2) an accounting of the costs associated with
16   the Instrument if it was issued, or (3) an accounting of distribution of the funds released in
17   connection with the Instrument.
18          44.     Plaintiffs additionally gave notice that JC Funding was in default for failing to
19   fund the Loan pursuant to Section 9 of the Project Funding Loan Agreement and indicated that
20   if JC Funding did not cure this default within 30 days of notice, ShuiKee demanded: (1) return
21   of $827,000 owed to it, plus any interest, fees, costs, or any other amounts owed, (2) the release
22   of the Collateral Agreement, if recorded, and any liens or encumbrances, and (3) immediate
23   invalidation of the Loan Documents.
24

25   1
       Collectively, the Project Funding Loan Agreement, Collateral Agreement, Custodian
     Agreement, and Promissory Note are referred to as the “Loan Documents”. For purposes of
26   the Complaint, the Collateral Agreement has not been included as an attachment. There also
     was a Working Capital Promissory Note and a Working Capital Loan Agreement associated
27   dated October 14, 2014 that are not included for purposes of the Complaint.
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 1           45.     To date, Defendants have failed to respond to Plaintiffs’ demands.
 2                                     FIRST CLAIM FOR RELIEF
 3                        (Fraud/Misrepresentation - Against all Defendants)
 4           46.     Plaintiffs reallege and incorporate by reference the preceding paragraphs of this
 5   Complaint as though fully set forth herein.
 6           47.     Defendants made false representations to Plaintiffs regarding the Loan, the
 7   Deposit, and the Transaction. Specifically, Defendants falsely represented that the Deposit
 8   would be used to fund the Loan, that ShuiKee would be repaid in full, and that Defendants had
 9   the ability to consummate the Transaction.
10           48.     Defendants knew or believed that these representations were false or had an
11   insufficient basis of information for making these representations.
12           49.     Defendants intended to induce Plaintiffs to act upon these representations by
13   having ShuiKee to wire the Deposit.
14           50.     Plaintiffs reasonably and justifiably relied upon Defendants’ representations
15   that the entire Deposit would be repaid and the Loan would be funded when Plaintiffs entered
16   into the parties’ agreement relating to the Transaction and ShuiKee provided the Deposit.
17           51.     Defendants have wrongly retained $827,000 of the Deposit paid by ShuiKee
18   despite Crossland (through JC Funding) failing to ever fund the Loan and Dotson (through D-
19   Design) failing to purchase GoLink and Fabrique.
20           52.     As a direct and proximate result of Defendants’ conduct, Plaintiffs have been
21   damaged in a substantial sum in excess of $75,000.00, the exact amount of which will be set
22   forth at the time of trial in this matter.
23           53.     Defendants’ actions were oppressive, fraudulent, and/or malicious, and
24   therefore Plaintiffs are entitled to an award of punitive and exemplary damages.
25           54.     As a direct and proximate result of Defendants’ conduct, Plaintiffs have been
26   forced to retain the services of counsel to prosecute this matter and are entitled to an award of
27   reasonable attorneys’ fees and costs.
                                                   -9-
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 1                                  SECOND CLAIM FOR RELIEF
 2                        (Conversion - Against Crossland and JC Funding)
 3           55.     Plaintiffs reallege and incorporate by reference the preceding paragraphs of this
 4   Complaint as though fully set forth herein.
 5           56.     Crossland and JC Funding have exerted wrongful dominion over a portion of
 6   the Deposit paid by ShuiKee that was earmarked to fund the Loan but then absconded with by
 7   Defendants.
 8           57.     Crossland and JC Funding’s acts were in denial of, or inconsistent with,
 9   ShuiKee’s rights to the Deposit.
10           58.     Crossland and JC Funding have failed and/or refused to return the Deposit in
11   full to ShuiKee.
12           59.     Defendants have wrongly retained $827,000 of the Deposit paid by ShuiKee
13   despite Crossland (through JC Funding) failing to ever fund the Loan and Dotson (through D-
14   Design) failing to purchase GoLink and Fabrique.
15           60.     As a direct and proximate result of Crossland and JC Funding’s conduct,
16   Plaintiffs have been damaged in a substantial sum in excess of $75,000.00, the exact amount
17   of which will be set forth at the time of trial in this matter.
18           61.     Crossland and JC Funding’s actions were oppressive, fraudulent, and/or
19   malicious, and therefore Plaintiffs are entitled to an award of punitive and exemplary damages.
20           62.     As a direct and proximate result of Crossland and JC Funding’s conduct,
21   Plaintiffs have been forced to retain the services of counsel to prosecute this matter and are
22   entitled to an award of reasonable attorneys’ fees and costs.
23                                   THIRD CLAIM FOR RELIEF
24                            (Civil Conspiracy - Against all Defendants)
25           63.     Plaintiff repeats and realleges the preceding allegations and by this reference
26   incorporates the same as though fully set forth herein.
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                                                    - 10 -
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 1          64.     Upon information and belief, Defendants acting in concert conspired and
 2   agreed with each other to defraud Plaintiffs by orchestrating a scheme through which
 3   Defendants would have Tai, through his company ShuiKee, contribute $1.9 million Deposit
 4   purportedly to facilitate funding for the Loan that would then be used to purchase GoLink and
 5   Fabrique, among other things.
 6          65.     Defendants have wrongly retained $827,000 of the Deposit paid by ShuiKee
 7   despite Crossland (through JC Funding) failing to ever fund the Loan and Dotson (through D-
 8   Design) failing to purchase GoLink and Fabrique.
 9          66.     As a direct and proximate result of the conduct by Defendants, Plaintiff has
10   been damaged in a substantial sum, in excess of $75,000.00.
11          67.     Plaintiff has, by reason of the foregoing, been required to obtain the services of
12   an attorney and is entitled to recover its reasonable attorney fees and costs from Defendants.
13                                FOURTH CLAIM FOR RELIEF
14                     (Negligent Misrepresentation - Against all Defendants)
15          68.     Plaintiffs reallege and incorporate by reference the preceding paragraphs of this
16   Complaint as though fully set forth herein.
17          69.     Defendants made false representations to Plaintiffs regarding the Loan, the
18   Deposit, and the Transaction. Specifically, Defendants falsely represented that the Deposit
19   would be used to fund the Loan, that ShuiKee would be repaid in full, and that Defendants had
20   the ability to consummate the Transaction.
21          70.     Defendants made these misrepresentations in the course of business and for a
22   transaction in which they had a pecuniary interest.
23          71.     Defendants’ misrepresentations were made for the guidance of Plaintiffs in
24   Transaction.
25          72.     Plaintiffs reasonably and justifiably relied upon Defendants’ representations
26   that the entire Deposit would be repaid and the Loan would be funded when Plaintiffs entered
27   into the parties’ agreement relating to the Transaction and ShuiKee provided the Deposit.
                                                   - 11 -
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 1           73.     Defendants did not exercise reasonable care or competence in obtaining or
 2   communicating information regarding the Loan, the Deposit, and the Transaction to Plaintiffs.
 3           74.     Defendants have wrongly retained $827,000 of the Deposit paid by ShuiKee
 4   despite Crossland (through JC Funding) failing to ever fund the Loan and Dotson (through D-
 5   Design) failing to purchase GoLink and Fabrique
 6           75.     As a direct and proximate result of Defendants’ conduct, Plaintiffs have been
 7   damaged in a substantial sum in excess of $75,000.00, the exact amount of which will be set
 8   forth at the time of trial in this matter.
 9           76.     As a direct and proximate result of Defendants’ conduct, Plaintiffs have been
10   forced to retain the services of counsel to prosecute this matter and are entitled to an award of
11   reasonable attorneys’ fees and costs.
12                                    FIFTH CLAIM FOR RELIEF
13                                (Accounting - Against all Defendants)
14           77.     Plaintiffs reallege and incorporate by reference the preceding paragraphs of this
15   Complaint as though fully set forth herein.
16           78.     Based upon the fiduciary relationship, the confidential relationship, the
17   existence of mutual and/or complicated accounts, Plaintiffs are entitled to an accounting of all
18   of the money entrusted with Defendants, and specifically the funds from the Deposit.
19           79.     Plaintiffs have demanded an accounting but Defendants have failed and/or
20   refused to provide an accounting.
21           80.     Defendants are in sole possession of the records regarding the use of funds from
22   the Deposit after they were released by the Custodian.
23           81.     Plaintiffs request that Defendants segregate the remaining funds from the
24   Deposit, if any, to protect the money from any further misuse, dissipation and loss.
25           82.     As a direct and proximate result of Defendants’ conduct, Plaintiffs have been
26   forced to retain the services of counsel to prosecute this matter and are entitled to an award of
27   reasonable attorneys’ fees and costs.
                                                   - 12 -
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 1                                    SIXTH CLAIM FOR RELIEF
 2            (Breach of Contract for Stock Purchase Agreement - Against D-Design)
 3           83.     Plaintiffs reallege and incorporate by reference the preceding paragraphs of this
 4   Complaint as though fully set forth herein.
 5           84.     Tai and Golden Essence and D-Design entered into a valid and enforceable
 6   agreement, specifically, the Stock Purchase Agreement.
 7           85.     D-Design has breached its obligation to purchase the shares of GoLink stock
 8   from Golden Essence. Specifically, D-Design never made the First Installment to Golden
 9   Essence or Tai pursuant to the Stock Purchase Agreement.
10           86.     D-Design’s breach of its obligation excuses Tai and Golden Essence from
11   transferring the GoLink shares under the Stock Purchase Agreement pursuant to Section 30 as
12   the Stock Purchase Agreement automatically terminated based on D-Design’s breach.
13           87.     Accordingly, D-Design is liable to pay a termination fee of $400,000 to Golden
14   Essence and reimburse Golden Essence for all legal, accounting and banking fees incurred in
15   connection with the transaction pursuant to Section 30 of the Stock Purchase Agreement.
16           88.     Further, D-Design’s breach renders it liable to pay accrued interest on the
17   Deposit 6% per annum on $1.9 million paid by ShuiKee for 136 days, which equals
18   $43,066.67, and 6% per annum on $1.027 million for 255 days, which equals $43,647.50.
19           89.     As a direct and proximate result of Defendants’ conduct, Plaintiffs have been
20   damaged in a substantial sum in excess of $75,000.00, the exact amount of which will be set
21   forth at the time of trial in this matter.
22           90.     As a direct and proximate result of Defendants’ conduct, Plaintiffs have been
23   forced to retain the services of counsel to prosecute this matter and are entitled to an award of
24   reasonable attorneys’ fees and costs.
25

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                                                   - 13 -
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 1                                  SEVENTH CLAIM FOR RELIEF
 2                   (Breach of the Implied Covenant of Good Faith and Fair Dealing
 3                         for Stock Purchase Agreement - Against D-Design)
 4           91.       Plaintiffs reallege and incorporate by reference the preceding paragraphs of this
 5   Complaint as though fully set forth herein.
 6           92.       Every contract entered into in Nevada imposes upon the contracting parties a
 7   duty of good faith and fair dealing, which prohibits one party from conducting itself in a
 8   manner that is unfaithful to the purpose of the contract.
 9           93.       Tai and Golden Essence and D-Design entered into the Stock Purchase
10   Agreement, which is a valid and enforceable agreement subject to the duty of good faith and
11   fair dealing.
12           94.       Based on D-Design’s breach of its obligation to purchase the shares of GoLink
13   stock from Golden Essence by making the First Installment to Golden Essence or Tai pursuant
14   to the Stock Purchase Agreement, D-Design has breached the covenant of good faith and fair
15   dealing and conducted itself in a manner unfaithful to the purpose of the Stock Purchase
16   Agreement, which denied Golden Essence and Tai’s justified expectations.
17           95.       As a direct and proximate result of D-Design’s conduct, Plaintiffs have been
18   damaged in a substantial sum in excess of $75,000.00, the exact amount of which will be set
19   forth at the time of trial in this matter.
20           96.       As a direct and proximate result of D-Design’s conduct, Plaintiffs have been
21   forced to retain the services of counsel to prosecute this matter and are entitled to an award of
22   reasonable attorneys’ fees and costs.
23                                   EIGHTH CLAIM FOR RELIEF
24   (Claim for Unjust Enrichment for Unreturned Deposit Funds - Against all Defendants)
25           97.       Plaintiffs reallege and incorporate by reference the preceding paragraphs of this
26   Complaint as though fully set forth herein.
27           98.       ShuiKee conferred a benefit upon the Defendants by paying the Deposit.
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 1            99.      Defendants appreciated this benefit and have unjustly retained $827,000 of the
 2   Deposit paid by ShuiKee against the fundamental principles of justice, equity, and good
 3   conscience.
 4            100.     As a direct and proximate result of Defendants’ conduct, Plaintiffs have been
 5   damaged in a substantial sum in excess of $75,000.00, the exact amount of which will be set
 6   forth at the time of trial in this matter.
 7            101.     As a direct and proximate result of Defendants’ conduct, Plaintiffs have been
 8   forced to retain the services of counsel to prosecute this matter and are entitled to an award of
 9   reasonable attorneys’ fees and costs
10            WHEREFORE, Plaintiff prays for the following:
11            1.       For general damages in excess of $75,000.00;
12            2.       For punitive damages;
13            3.       For all costs and expenses, including reasonable attorneys’ fees, incurred by
14                     Plaintiffs regarding the commencement and prosecution of this action;
15            4.       For an accounting of the funds from the Deposit; and
16            5.       For such other and further relief as the Court deems just and proper.
17            DATED this 4th day of October, 2017.
18
                                                         HOLLEY DRIGGS WALCH
19                                                       FINE WRAY PUZEY & THOMPSON
20
                                                           /s/ Andrea M. Gandara
21                                                       RICHARD F. HOLLEY, ESQ.
                                                         Nevada Bar No. 3077
22                                                       ANDREA M. GANDARA, ESQ.
                                                         Nevada Bar No. 12580
23                                                       400 South Fourth Street, Third Floor
                                                         Las Vegas, Nevada 89101
24
                                                         Attorneys for Plaintiffs Gary Tai,
25                                                       ShuiKee Company Limited, and Golden
                                                         Essence Global Limited
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 1                               EXHIBITS INDEX
 2       Exhibit 1   Stock Purchase Agreement
 3       Exhibit 2   Project Funding Loan Agreement
 4       Exhibit 3   Custodian Agreement
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